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                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF MONTANA

                          MISSOULA DIVISION


UNITED STATES OF AMERICA,        )     CR 07-01-M-DWM
                                 )
           Plaintiff,            )
                                 )
     VS.                         )     ORDER
                                 )
MICHAEL JOSEPH STANISICH,        )
                                 )
           Defendant.            )



     United States Magistrate Judge Jeremiah C. Lynch entered

Findings and Recommendation in this matter on May 2, 2007.

Neither party objected and therefore they are not entitled to de

novo review of the record.    28 U.S.C. § 636(b)(l); United States

v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).         This Court

will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d

1309, 1313 (9th Cir. 1981).     Clear error exists if the Court is

left with a "definite and firm conviction that a mistake has been

committed."   United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000).

     Judge Lynch recommended this Court accept Stanisichrs guilty
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plea after Stanisich appeared before him pursuant to Rule 11,

Federal Rules of Criminal Procedure, and entered his plea of

guilty to the charge of conspiracy in violation of 18 U.S.C. §



     I find no clear error in Judge Lynch's Findings and

Recommendation (dkt #122) and I adopt them in full.

    Accordingly, IT IS HEREBY ORDERED that Defendant's motion to

change plea (dkt #94) is GRANTED.



    DATED this        day of May, 2007.
